        Case 2:20-cr-00322-ODW Document 87 Filed 09/16/22 Page 1 of 1 Page ID #:526
 JOHN O. IWEANOGE, II
 THE IWEANOGES FIRM, PC
 1026 MONROE STREET, NE
 WASHINGTON, DC 20017




                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
 UNITED STATES OF AMERICA                                               CASE NUMBER
                                                                                                2:20-CR-00322-ODW
                                                         Plaintiff(s)
                             v.
 RAMON OLORUNWA ABBAS                                                        ORDER ON APPLICATION OF NON-
                                                                           RESIDENT ATTORNEY TO APPEAR IN A
                                                     Defendant(s).             SPECIFIC CASE PRO HAC VICE
The Court, having determined whether the required fee has been paid, and having reviewed the Application of
Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by
  IWEANOGE II. JOHN O.                                                            of    THE IWEANOGES FIRM. PC
  Applicant’s Name (Last Name, First Name & Middle Initial                              1026 MONROE STREET, NE
  (202) 347-7026                          (202) 347-7108                                WASHINGTON. DC 20017
  Telephone Number                        Fax Number
  JOI@IWEANOGESFIRM.COM
                              E-Mail Address                                            Firm/Agency Name & Address
for permission to appear and participate in this case on behalf of
  RAMON OLORUNWA ABBAS


  Name(s) of Party(ies) Represent                                 ☐ Plaintiff(s) ☒ Defendant(s) ☐ Other:
and designating as Local Counsel
  Khouri, Michael J                                                                of    KHOURI LAW FIRM, APC
  Designee’s Name (Last Name, First Name & Middle Initial                                101 Pacifica, Suite 380
  97654                            (949) 336-2433                                        Irvine, California 92618
   Designee’s Cal. Bar No.         Telephone Number               Fax Number
  mkhouri@khourilaw.com
                              E-Mail Address                                             Firm/Agency Name & Address
HEREBY ORDERS THAT the Application be:
  ☒GRANTED
  ☐DENIED:            ☐    for failure to pay the required fee.
                      ☐    for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.
                      ☐    for failure to complete Application:
                      ☐    pursuant to L.R. 83-2.1.3.2: ☐Applicant resides in California; ☐ previous Applications listed indicate Applicant
                           is regularly employed or engaged in business, professional, or other similar activities in California.
                      ☐    pursuant to L.R. 83-2.1.3.4; Local Counsel: ☐ is not member of Bar of this Court; ☐ does not maintain office
                           District.
                      ☐ because
IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid: ☐ be refunded ☐ not be refunded.
Dated: September 16, 2022

                                                                                                U.S. District Judge
 G-64 Order (05/16)   (PROPOSED) ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                Page 1 of 1
